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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MINNESOTA

                                  CIVIL MOTION HEARING
RG Golf Warehouse, Inc.,                  )                   COURT MINUTES
                                          )             BEFORE: Wilhelmina M. Wright,
                     Plaintiff,           )                  U.S. District Judge
                                          )
 v.                                       )
                                               Case No:          19-cv-0585 (WMW/DTS)
                                          )
                                          )
                                               Date:             May 6, 2022
The Golf Warehouse, LLC,                  )    Courthouse:       Saint Paul
                                          )    Courtroom:        7A
                     Defendant.           )    Deputy:           Mona Eckroad
                                          )    Court Reporter:   Lori Simpson
                                          )    Time in Court:    9:27 a.m. – 10:11 a.m.
                                          )    Total time:       44 Minutes

APPEARANCES:

Plaintiff:   Patrick J. Rooney

Defendant:   Bryan R. Battina

HEARING ON:

Defendant’s Motion to Exclude Expert Testimony and Motion for Summary Judgment. [102]
Plaintiff’s Motion for Summary Judgment. [107]

PROCEEDINGS:

The motions were argued and taken under advisement. Order to follow.

                                                                       s/Mona Eckroad
                                                                       Courtroom Deputy
